                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                           )
Husband and Wife,                                          )
                                                           )
                  Plaintiffs,                              )
                                                           )
v.                                                         )       Civil Action No.: 3:17-cv-00725
                                                           )
DR. CLARK ARCHER and HCA                                   )       Jury Demand
HEALTH SERVICES OF TENNESSEE, INC.                         )       Judge Crenshaw
d/b/a STONECREST MEDICAL CENTER,                           )       Magistrate Judge Newbern
                                                           )
                  Defendants.                              )


                  DEFENDANT’S STATEMENT OF FACTS IN SUPPORT OF
                       ITS MOTION FOR SUMMARY JUDGMENT

          HCA Health Services of Tennessee, Inc. submits a concise statement of facts

pursuant to Local Rule 56.01 of the United States District Court for the Middle District of

Tennessee. This statement is filed in support of its Motion for Summary Judgment.

      1. Prior to Mr. Ruffino’s admission to StoneCrest Medical Center on February 17,

          2016, Mr. Ruffino experienced a series of transient ischemic attacks (TIAs) with

          repetition of the same symptoms, including impact on speech, facial drooping,

          and dysfunction of his right arm and leg.1

          RESPONSE:



      2. Prior to and during February 2016, Mr. Ruffino was a heavy cigarette smoker.2

          RESPONSE:



1
    Affidavit of Dr. Dodds, ¶9; Neurology Clinic Associates, 001 and 008-010.
2
    Affidavit of Jodi Dodds, ¶10; Neurology Clinic Associates, 005.



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     3. On December 23, 2015, Mr. Ruffino presented to University Medical Center in

        Lebanon, Tennessee where he underwent a Magnetic Resonance Angiogram

        (MRA) of the brain, without contrast, and Magnetic Resonance Imaging (MRI) of

        the brain, with and without contrast.3

        RESPONSE:



     4. The December 23, 2015 MRA demonstrates blockage in Mr. Ruffino’s left middle

        cerebral artery (MCA).4

        RESPONSE:



     5. In the December 23, 2015 MRA, the left MCA is either completely occluded in the

        distal M1 segment, or 99% stenosed.5

        RESPONSE:



     6. There is no appreciable flow through the distal M1 segment of Mr. Ruffino’s MCA

        on the MRA of December 23, 2015.6

        RESPONSE:



     7. Following completion of these studies at University Medical Center, Mr. Ruffino

        returned to see his private neurologist, Deka Efobi, M.D., on February 11, 2016.7

        RESPONSE:

3
  Affidavit of Dr. Dodds, ¶11; Neurology Clinic Associates, 011-013.
4
  Affidavit of Dr. Dodds, ¶11.
5
  Affidavit of Dr. Dodds, ¶11.
6
  Affidavit of Dr. Dodds, ¶11.
7
  Affidavit of Dr. Dodds, ¶12; Neurology Clinic Associates, 004-011.


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     8. At that time, Mr. Ruffino was on an antiplatelet medication (aspirin) and a statin.8

        RESPONSE:



     9. Dr. Efobi also appropriately encouraged smoking cessation, which Mr. Ruffino

        refused.9

        RESPONSE:



     10. The documented TIAs were crescendo, stereotypical TIAs caused by a fixed

        lesion with structural narrowing in the left MCA leading to Mr. Ruffino’s stroke.10

        RESPONSE:



     11. Mr. Ruffino presented to StoneCrest Medical Center on the morning of February

        17, 2016.11

        RESPONSE:



     12. Mr. Ruffino was transported by EMS to StoneCrest with a complaint of

        dizziness.12

        RESPONSE:




8
  Affidavit of Dr. Dodds, ¶12; Neurology Clinic Associates, 005.
9
  Affidavit of Dr. Dodds, ¶12; Neurology Clinic Associates, 010.
10
   Affidavit of Dr. Dodds, ¶13; Affidavit of Dr. Valdivia, ¶7.
11
   Affidavit of Dr. Dodds, ¶14; StoneCrest 001 and 014.
12
   Affidavit of Dr. Dodds, ¶14; StoneCrest 014.


                                                    3
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      13. Mr. Ruffino later reported to his physician at Centennial Medical Center that he

         had awakened with right facial weakness, facial droop, slurred speech and

         expressive aphasia first thing on the morning of February 17, 2016.13

         RESPONSE:



      14. Mr. Ruffino received neuroimaging studies at StoneCrest on February 17, 2016

         to evaluate the cause of his symptoms.14

         RESPONSE:



      15. To a reasonable degree of medical probability, the CT angiogram performed at

         StoneCrest Medical Center on the afternoon of February 17, 2016 demonstrated

         an occlusion in the M1 segment of the left MCA.15

         RESPONSE:



      16. After being evaluated by a neurologist, Mr. Ruffino was transferred to Centennial

         Medical Center on February 17, 2016.16

         RESPONSE:



      17. At Centennial, during his first admission, Mr. Ruffino was evaluated and treated

         by the Medical Director of the Stroke Center at Centennial, Dr. Jarquin-Valdivia.17

         RESPONSE:

13
   Affidavit of Dr. Dodds, ¶14; Centennial Medical Center 001 and 017.
14
   StoneCrest 065 – 068.
15
   Affidavit of Dr. Dodds, ¶15; Affidavit of Dr. Valdivia, ¶9.
16
   StoneCrest 004; Centennial 017-019.
17
   Centennial 031-040; Affidavit of Dr. Valdivia, ¶5.


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      18. Mr. Ruffino was discharged from Centennial on February 26, 2016.18

         RESPONSE:



      19. Dr. Jodi Dodds is qualified to provide expert opinions in this matter on the

         applicable standard of care and causation.19

         RESPONSE:



      20. Dr. Jarquin-Valdivia is qualified to provide expert opinions in this matter on the

         applicable standard of care and causation.20

         RESPONSE:



      21. The federal Food and Drug Administration authorizes use of tPA within three (3)

         hours after the patient was last normal.21

         RESPONSE:



      22. To calculate “last known time of normal” for evaluation of tPA administration or

         interventional therapy, a patient must be normal when he awakens.22

         RESPONSE:




18
   Centennial 072-075.
19
   Affidavit of Dr. Dodds, ¶¶1-8.
20
   Affidavit of Dr. Jarquin-Valdivia, ¶¶1-5.
21
   Affidavit of Dr. Dodds, ¶17; Affidavit of Dr. Valdivia, ¶10.
22
   Affidavit of Dr. Dodds, ¶18; Affidavit of Dr. Valdivia, ¶11.


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      23. A patient that wakes up with a deficit is considered “last normal” at the time he

         went to sleep.23

         RESPONSE:



      24. Based on the recorded history given in the emergency room at Centennial, Mr.

         Ruffino’s last known time of normal was when he went to bed the night before.24

         RESPONSE:



      25. Mr. Ruffino did not arrive in the ED at StoneCrest until 9:48 a.m. on February 17,

         2016, well beyond three (3) hours after he was “last normal” by his own recorded

         history.25

         RESPONSE:



      26. Mr. Ruffino’s reported symptoms in the ER were dizziness and/or seizures,

         neither of which is an indication to administer tPA or perform interventional

         therapy.26

         RESPONSE:



      27. The care provided by all providers at StoneCrest complied with accepted

         standards of care.27

         RESPONSE:

23
   Affidavit of Dr. Dodds, ¶18; Affidavit of Dr. Valdivia, ¶11.
24
   Affidavit of Dr. Dodds, ¶18; Affidavit of Dr. Valdivia, ¶11 (see also Exhibit B to affidavit).
25
   Affidavit of Dr. Dodds, ¶18; Affidavit of Dr. Valdivia, ¶11.
26
   Affidavit of Dr. Valdivia, ¶12.
27
   Affidavit of Dr. Dodds, ¶16 and ¶20.


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      28. On February 17, 2016, given the complete, or nearly complete, occlusion, in the

         M1 segment of Mr. Ruffino’s left MCA, a thrombectomy was not appropriate.28

         RESPONSE:



      29. A thrombectomy is not indicated to excavate a fixed lesion.29

         RESPONSE:



      30. tPA was not indicated and would not have opened the occluded vessel.30

         RESPONSE:



      31. Based on the 2011 SAMMPRIS trial, stenting of the long-occluded vessel was

         not indicated (incidence of stroke or death was 15% for those undergoing

         stenting vs. 5% for medical treatment only).31

         RESPONSE:



      32. Because of the location of Mr. Ruffino’s occlusion in the M1 segment of Mr.

         Ruffino’s middle cerebral artery, Mr. Ruffino was unlikely, to a reasonable degree

         of medical probability, to have received any improvement from the administration

         of tPA.32

         RESPONSE:



28
   Affidavit of Dr. Dodds, ¶16.
29
   Affidavit of Dr. Dodds, ¶16.
30
   Affidavit of Dr. Dodds, ¶16.
31
   Affidavit of Dr. Dodds, ¶16.
32
   Affidavit of Dr. Dodds, ¶17; Affidavit of Dr. Valdivia, ¶10.


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      33. Treatment of an occlusion in the M1 segment of the MCA with tPA does not offer

         any assurance of improvement in outcome to a reasonable degree of medical

         certainty, irrespective of time of administration of tPA.33

         RESPONSE:



      34. Table 4 from Site of Arterial Occlusion Identified by Transcranial Doppler Predicts

         the Response to Intravenous Thrombolysis for Stroke, STROKE, 2007 38: 948-

         954,34 establishes that 84.5% of patients with an occlusion in the M1 segment

         had a poor outcome despite administration of tPA.35

         RESPONSE:



      35. Even if Mr. Ruffino had received tPA shortly after his arrival to StoneCrest, it is

         not likely, to a reasonable degree of medical probability, that administration of

         tPA would have changed the outcome or prevented an injury.36

         RESPONSE:



      36. No action or inaction by any healthcare provider at StoneCrest was the cause of

         any injury to Plaintiffs that would not otherwise have occurred.37

         RESPONSE:




33
   Affidavit of Dr. Dodds, ¶17; Affidavit of Dr. Valdivia, ¶10.
34
   Filed with Notice of Filing.
35
   Affidavit of Dr. Dodds, ¶17; Affidavit of Dr. Valdivia, ¶10.
36
   Affidavit of Dr. Dodds, ¶17; Affidavit of Dr. Valdivia, ¶10.
37
   Affidavit of Dr. Dodds, ¶¶17 and 21; Affidavit of Dr. Valdivia, ¶¶10 and 13.


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                                                  Respectfully submitted,

                                                  GIDEON, COOPER & ESSARY, PLC

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                                                  Medical Center




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been furnished, by
electronic means via the Court’s electronic filing system, this 30th day of November, 2017,
to the following:

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